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    Bloomfield Hills, MI
              Case 2:21-bk-18018-VZ                                        Doc 11 Filed 11/01/21 Entered 11/01/21 21:17:06                                                                     Desc
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 Fill in this information to identify the case:

 Debtor name            Legal Advocacy, P.C.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:21-bk-18018
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        1,946,764.49

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        1,946,764.49


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        2,141,524.68


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           141,152.07

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$           115,011.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,397,688.01




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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              Case 2:21-bk-18018-VZ                           Doc 11 Filed 11/01/21 Entered 11/01/21 21:17:06                                  Desc
                                                               Main Document    Page 5 of 31
 Fill in this information to identify the case:

 Debtor name          Legal Advocacy, P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-18018
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Bank of Ann Arbor                                                                       0799                                         $33.99




            3.2.     Bank of Ann Arbor                                                                       3281                                         $66.75



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                       $100.74
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 1
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 Debtor         Legal Advocacy, P.C.                                                                  Case number (If known) 2:21-bk-18018
                Name


           11a. 90 days old or less:                                 21,297.38   -                                   0.00 = ....                 $21,297.38
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                               368,621.41       -                                  0.00 =....                  $368,621.41
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $389,918.79
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           HP Pavilion computer and accessories                                                Unknown                                             Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                             $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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 Debtor         Legal Advocacy, P.C.                                                          Case number (If known) 2:21-bk-18018
                Name


            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2002 911 Porsche; VIN
                     WP0CA29902S650574                                                      $0.00    Blue Book                          $15,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                          $15,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     633 W 3rd Street, Los
                     Angeles, CA 90036.                   Leasehold                         $0.00    Market                                      $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Legal Advocacy, P.C.                                                          Case number (If known) 2:21-bk-18018
                Name




 56.        Total of Part 9.                                                                                                                 $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Shellnut v Boyer
            Styled Case no. 19-874635-DC
            Closed case.

            In Re Jayden Boyer
            Styled Case No: 2011-340128-LG
            Pending in Oakland County Probate Court
            Closed case.

            In Re Jayden Boyer
            Styled Case No: 2020-881878-NA
            Pending in: Oakland County Family Court
            Closed case.                                                                                                                $25,033.96
            Nature of claim       Custody - Attorneys' fees;
                                  counsel of record.
            Amount requested                     $25,033.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Legal Advocacy, P.C.                                                          Case number (If known) 2:21-bk-18018
                Name

           Moceri v Romano et al.
           Styled Case No. 356616
           Pending action in the Michigan Court of Appeals

           Moceri v. Romano et al.
           Styled Case No. 2019-178399-NM
           Also pending in the Oakland County Circuit Court.                                                                              $19,976.81
           Nature of claim         Legal Malpractice - Attorneys'
                                   fees; counsel of record.
           Amount requested                             $0.00


           Scheunemann et al. v D'Ambrosio et al.
           Styled Case No. 2019-004881-NO
           Closed case.                                                                                                                           $0.00
           Nature of claim        Civil - Attorneys' fees; counsel
                                  of record.
           Amount requested                         $6,666.50


           Colorado Seasons, Inc. v. Norman Yatooma &
           Associates, P.C. et al.
           Styled case No. 19STCV24643
           Pending in the Los angeles Superior Court
           Litigation is a contingent asset. Value is based on full
           amount of the claim and not reduced for risk or cost of
           litigation.                                                                                                                $1,011,000.00
           Nature of claim          Attorneys' fees; counsel of
                                    record.
           Amount requested                      $1,011,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           IOLTA Bank account at Bank of Ann Arbor. Account
           number ending 0802. This account is not Debtor's
           property.                                                                                                                      $85,734.19


           Legal award of $400,000.00 awarded to Debtor in the
           case of Norman Yatooma & Associates, P.C. v. Cohen
           Lerner & Rabinovitz, Styled Case No. 2016-153017-CB
           pending in the State of Michigan, County of Oakland.                                                                          $400,000.00




 78.       Total of Part 11.                                                                                                         $1,541,744.96
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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              Case 2:21-bk-18018-VZ                               Doc 11 Filed 11/01/21 Entered 11/01/21 21:17:06                                                  Desc
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 Debtor          Legal Advocacy, P.C.                                                                                Case number (If known) 2:21-bk-18018
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $100.74

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $389,918.79

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $15,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,541,744.96

 91. Total. Add lines 80 through 90 for each column                                                         $1,946,764.49            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,946,764.49




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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             Case 2:21-bk-18018-VZ                            Doc 11 Filed 11/01/21 Entered 11/01/21 21:17:06                                           Desc
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 Fill in this information to identify the case:

 Debtor name          Legal Advocacy, P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)              2:21-bk-18018
                                                                                                                                            Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    PNC Bank, N.A.                                Describe debtor's property that is subject to a lien                  $2,141,524.68                 Unknown
        Creditor's Name                               Judgment entered February 11, 2020 in the
        C/o Patrick C. Lannen                         U.S. District Court, Eastern District of
        38505 Woodward Ave.,                          Michigan, case number
        Suite 100                                     4:16-cv-13258-LVP-SDD
        Bloomfield Hills, MI 48304
        Creditor's mailing address                    Describe the lien
                                                      All personal property assets
        plannen@plunkettcooney.c                      Is the creditor an insider or related party?
        om                                             No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                             $2,141,524.6
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       8

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Plunkett Cooney
         c/o Patrick C. Lannen                                                                                 Line   2.1
         38505 Woodward Ave., Suite 100
         Bloomfield Hills, MI 48304




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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                                                              Main Document    Page 12 of 31
 Fill in this information to identify the case:

 Debtor name         Legal Advocacy, P.C.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)          2:21-bk-18018
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,652.18        $3,652.18
           Christine Constantino, Jr.                                Check all that apply.
           2211 S. Telegraph Road                                     Contingent
           P.O. Box 7325                                              Unliquidated
           Bloomfield Hills, MI 48302                                 Disputed
           Date or dates debt was incurred                           Basis for the claim:
           October 1, 2021 to October 18,
           2021                                                      Unpaid payroll.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           EDD                                                       Check all that apply.
           P.O. Box 826215 MIC 3A                                     Contingent
           Sacramento, CA 94280-0001                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     NOTICE ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 4
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 Debtor       Legal Advocacy, P.C.                                                                            Case number (if known)   2:21-bk-18018
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           Franchise Tax Board                                       Check all that apply.
           Bankruptcy Section, MS: A-340                              Contingent
           P.O. Box 2952                                              Unliquidated
           Sacramento, CA 95812-2952                                  Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     NOTICE ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 21126                                             Contingent
           Philadelphia, PA 19114                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     NOTICE ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $19,038.36         $13,650.00
           Nicole Yatooma                                            Check all that apply.
           1450 West Square Lake Road                                 Contingent
           Bloomfield Hills, MI 48302                                 Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           May 14, 2021 to October 18, 2021                          Unpaid payroll.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $118,461.53         $13,650.00
           Norman Yatooma                                            Check all that apply.
           1450 West Square Lake Road                                 Contingent
           Bloomfield Hills, MI 48302                                 Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           May 14, 2021 to October 18, 2021                          Unpaid payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 4
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 Debtor       Legal Advocacy, P.C.                                                                    Case number (if known)            2:21-bk-18018
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          Art Brand Studios, LLC                                              Contingent
          18715 Madrone Pkwy                                                  Unliquidated
          Morgan Hill, CA 95037
                                                                              Disputed
          Date(s) debt was incurred
                                                                                             Sanction issued against firm in case of Art Band
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Studios,LLC v Colorado Seasons, Inc. et al., Styled Case No.
                                                                             20STCP01099. Contingent on payment to Davis Write Tremaine LLP
                                                                             and Next Point Capital Corporation.
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Colorado Seasons, Inc.                                              Contingent
          260 Glenco Street
          Denver, CO 80202
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                                    Colorado Seasons, Inc. v Norman Yatooma &
                                                                             Basis for the claim:
                                                                             Associates, P.C. et al. in the Superior Court of the State of California
                                                                             County of Los Angeles, Central District Case No. 19-STCV-24643
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          Davis Wright Tremaine                                               Contingent
          865 South Figueroa Street                                           Unliquidated
          24th Floor
                                                                              Disputed
          Los Angeles, CA 90017
          Date(s) debt was incurred
                                                                                             Sanction issued against firm in case of Art Band
                                                                             Basis for the claim:
                                                                             Studios,LLC v Colorado Seasons, Inc. et al., Styled Case No.
          Last 4 digits of account number                                    20STCP01099. Contingent on payment to Art Brand Studios, LLC and
                                                                             Next Point Capital Corporation.
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,510.76
          Leaf Capital Funding, LLC
          c/o Fleischer,Fleischer & Suglia PC                                 Contingent
          Four Greentree Centre                                               Unliquidated
          601 Route 73 North, Suite 305                                       Disputed
          Marlton, NJ 08053
                                                                             Basis for the claim:    Service Lease
          Date(s) debt was incurred
          Last 4 digits of account number       1001                         Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,500.50
          Monster PPC, LLC                                                    Contingent
          8275 S. Eastern Ave.                                                Unliquidated
          Suite 200-204                                                       Disputed
          Las Vegas, NV 89123
                                                                             Basis for the claim:    Lease of real property.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          Next Point Capital Corporation                                      Contingent
          10866 wilshire Blvd                                                 Unliquidated
          Los Angeles, CA 90024
                                                                              Disputed
          Date(s) debt was incurred
                                                                                            Sanction issued against firm in case of Art Band
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Studios,LLC v Colorado Seasons, Inc. et al., Styled Case No.
                                                                             20STCP01099. Contingent on payment to Art Brand Studios, LLC and
                                                                             Davis Write Tremaine LLP.
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 4
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 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Park Mills LLP
           800 W. 6th Street, Suite 500                                                           Line      3.2
           Los Angeles, CA 90017
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.         $                    141,152.07
 5b. Total claims from Part 2                                                                         5b.    +    $                    115,011.26
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                              5c.         $                      256,163.33




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 4
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 Case number (if known)         2:21-bk-18018
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Lease for Copier
              lease is for and the nature of              servicing. Lease is for
              the debtor's interest                       $174.61 per month.

                  State the term remaining                9/26/2022
                                                                                        Applied Imaging
              List the contract number of any                                           24050 Northwestern HWY
                    government contract                                                 Southfield, MI 48075


 2.2.         State what the contract or                  Lease for $126.00 per
              lease is for and the nature of              month for confirming
              the debtor's interest                       education.

                  State the term remaining                Month-to-Month                Institute for Continuing Legal
                                                                                        Education
              List the contract number of any                                           1020 Greene St
                    government contract                                                 Ann Arbor, MI 48109


 2.3.         State what the contract or                  Lease of property
              lease is for and the nature of              located at 6333 W 3rd
              the debtor's interest                       Street, Los Angeles, CA
                                                          90036.
                                                          Lease payment is
                                                          $1000 per month.
                  State the term remaining                Month-to-Month                Monster PPC, LLC
                                                                                        8275 S. Eastern Ave.
              List the contract number of any                                           Suite 200-204
                    government contract                                                 Las Vegas, NV 89123


 2.4.         State what the contract or                  Lease for Copier
              lease is for and the nature of              equipment. Lease is
              the debtor's interest                       for $324.88 per month.

                  State the term remaining                9/26/2022
                                                                                        US Bank Equipment Finance
              List the contract number of any                                           P.O. Box 790448
                    government contract                                                 Saint Louis, MO 63179



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
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 Debtor 1 Legal Advocacy, P.C.                                                                Case number (if known)   2:21-bk-18018
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Lease of P.O. Box for
             lease is for and the nature of               June, 2021 through
             the debtor's interest                        April 30, 2021.

                  State the term remaining                6 Months
                                                                                      USPS
             List the contract number of any                                          2211 S. Telegraph Road
                   government contract                                                Bloomfield Hills, MI 48302


 2.6.        State what the contract or                   Lease is for $384.50 per
             lease is for and the nature of               month for telephone.
             the debtor's interest

                  State the term remaining                month to month
                                                                                      Verizon
             List the contract number of any                                          1095 Ave. of the Americas
                   government contract                                                New York, NY 10018




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
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                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Norman A.                         1450 W. Square Lake Road                         PNC Bank, N.A.                  D       2.1
             Yatooma                           Bloomfield Hills, MI 48302                                                        E/F
                                               Joint and several liability under PNC
                                                                                                                                G
                                               Judgment.




Official Form 206H                                                        Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Legal Advocacy, P.C.

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                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                $171,005.66
       From 1/01/2021 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                $358,341.89
       From 1/01/2020 to 12/31/2020
                                                                                                Other


       For year before that:                                                                    Operating a business                              $7,477,781.62
       From 1/01/2019 to 12/31/2019
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attachment 3                                            See                                     $0.00          Secured debt
                                                                           Attachment 3                                           Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other    See Attachment 3


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Norman A. Yatooma                                           September 8,                       $4,724.00          Expense reimbursement
               1450 W. Square Lake Road                                    2021
               Bloomfield Hills, MI 48302
               shareholder, officer, and director

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Norman Yatooma &                                  Collections                Washtenaw County Circuit                   Pending
               Associates, P.C. v Booras                                                    Court                                      On appeal
               20-000247-CB                                                                 101 E. Huron Street                           Concluded
                                                                                            P.O. Box 8645
                                                                                            Ann Arbor, MI 48107




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               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.2.    Gray v Norman Yatooma &                           Employment                Oakland County Circuit                 Pending
               Associates, P.C.                                                            Court                                  On appeal
               19-173113-CB                                                                1200 N. Telegraph Rd.,                     Concluded
                                                                                           Pontiac, MI 48340

       7.3.    PNC Bank v. Legal Advocacy,                       Civil                     US District Court Eastern              Pending
               P.C.                                                                        District of MI                         On appeal
               2016-cv-13258                                                               Theodore Levin US                          Concluded
                                                                                           Courthouse
                                                                                           231 W. Lafayette Blvd.,
                                                                                           Detroit, MI 48226

       7.4.    Norman Yatooma &                                  Civil                     Oakland County Circuit                 Pending
               associates, P.C. v Cohen                                                    Court                                  On appeal
               Lerner & Rabinovitz, P.C. et                                                1200 N. Telegraph Rd.,                 Concluded
               al.                                                                         Pontiac, MI 48340
               2016-153017-CB

       7.5.    Tinsley et al v Norman                            Legal Malpractice         Michigan Supreme Court                 Pending
               Yatooma & associates, P.C.                                                  925 W. Ottawa St.                      On appeal
               162041                                                                      Lansing, MI 48915                          Concluded


       7.6.    Tinsley et al. v Norman                           Legal Malpractice         Michigan Court of Appeals              Pending
               Yatooma & Associates, P.C.                                                  Michigan Hall of Justice               On appeal
               349354                                                                      925 W. Ottawa St.                          Concluded
                                                                                           Lansing, MI 48915

       7.7.    Tinsley et al. v Norman                           Legal Malpractice         Wayne County Circuit Court             Pending
               Yatooma & Associates, P.C.                                                  2 Woodward Avenue                      On appeal
               18-011537-NM                                                                Detroit, MI 48226                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Haberbush, LLP
                 444 West Ocean Boulevard,
                 Suite 1400                                                                                                    October 18,
                 Long Beach, CA 90802                                                                                          2021                     $20,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Bob Noll



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers             Total amount or
                                                                                                                        were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                   Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange              was made                           value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1615 S. Telegraph Road                                                                                    March 1, 2014 to June 30, 2020
                 Suite 300
                 Bloomfield Hills, MI 48302


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 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Personal information for cases. This information is maintained
                  pursuant to the ethical rules.
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

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 Debtor      Legal Advocacy, P.C.                                                                       Case number (if known) 2:21-bk-18018




       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Hofley Burns et al v Walter Wheble et al                      Bank of Ann Arbor                    Account ending 0802.                     $85,734.19
                                                                     ILOTA Account
                                                                     Woodward Ave.
                                                                     Birmingham, MI 48009


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Matthew R. Hudkins                                                                                                         November 27, 2017
                    31272 Edgeworth Drive                                                                                                      to present
                    Madison Heights, MI 48071

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Matthew R. Hudkins                                                                                                         November 27, 2017
                    31272 Edgeworth Drive                                                                                                      to present
                    Madison Heights, MI 48071

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Matthew R. Hudkins
                    31272 Edgeworth Drive
                    Madison Heights, MI 48071

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Norman Yatooma                                 1450 West Square Lake Road                          Shareholder, President                        100
                                                      Bloomfield Hills, MI 48302



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7
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                                                                                                                     Affairs


Type    Date        Num      Name                            Memo                                                                                 Address                                 IN   OUT          Notes
Check    11/2/2020        46 Norman A. Yatooma               CHECK 46                                                                                                                           $9,015.39   Payroll
Check    7/23/2021      1013 ADP - Payroll Fees              ADP PAYROLL FEES ADP - FEES 2RJHD 1639099                                            One ADP Boulevard, Roseland, NJ 07068            $76.04
Check    7/23/2021                                           CASHIERS CHECK PURCHASE                                                                                                               $30.00   ClientExpense
Check    7/23/2021                                           CASHIERS CHECK PURCHASE                                                                                                               $60.00   ClientExpense
Check    7/27/2021                                           CASHIERS CHECK PURCHASE                                                                                                               $72.00   ClientExpense
Check    7/30/2021      1014 ADP - Payroll and Taxes         ADP Tax ADP Tax ROJHD 073014A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.22
Check    7/30/2021      1015 ADP - Payroll and Taxes         ADP WAGE PAY WAGE PAY 927020387159JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.09
Check    7/30/2021      1016 ADP - Workmen's Comp            ADP PAY-BY-PAY PAY-BY-PAY 927020387160JHD                                            One ADP Boulevard, Roseland, NJ 07068            $11.07
Check      8/6/2021     1017 ADP - Payroll Fees              ADP PAYROLL FEES ADP - FEES 2RJHD 7388981                                            One ADP Boulevard, Roseland, NJ 07068            $76.04   ADP Payroll - Chrissy Only
Check    8/13/2021      1018 ADP - Payroll and Taxes         ADP Tax ADP Tax ROJHD 081315A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.22   ADP Payroll - Chrissy Only
Check    8/13/2021      1020 ADP - Payroll and Taxes         ADP WAGE PAY WAGE PAY 543057782135JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.09   ADP Payroll - Chrissy Only
Check    8/13/2021      1019 ADP - Workmen's Comp            ADP PAY-BY-PAY PAY-BY-PAY 543057782136JHD                                            One ADP Boulevard, Roseland, NJ 07068            $11.07   ADP Payroll - Chrissy Only
Check    8/20/2021      1021 ADP - Payroll Fees              ADP PAYROLL FEES ADP - FEES 2RJHD 7901144                                            One ADP Boulevard, Roseland, NJ 07068            $79.09   ADP Payroll - Chrissy Only
Check    8/31/2021      1023 ADP - Payroll and Taxes         ADP WAGE PAY WAGE PAY 702062791707JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.10   ADP Payroll - Chrissy Only
Check    8/31/2021      1022 ADP - Workmen's Comp            ADP PAY-BY-PAY PAY-BY-PAY 702062791708JHD                                            One ADP Boulevard, Roseland, NJ 07068            $11.07   ADP Payroll - Chrissy Only
Check      9/1/2021     1024 ADP - Payroll and Taxes         ADP Tax ADP Tax ROJHD 083116A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.21   ADP Payroll - Chrissy Only
Check      9/8/2021     5001 Rosenfeld Insurance Agency      Memo:CHECK 5001                                                                                                                    $6,909.00   Insurance
                                                             115670536 Transfer to CHECKING 2001983 ON 9/08 AT 7:18 Payee:115670536 Transfer to
Check     9/8/2021      1026                                 CHECKING 2                                                                                                                         $4,742.24   personal
Check    9/10/2021      1025   ADP - Payroll Fees            ADP PAYROLL FEES ADP - FEES 2RJHD 6050029                                            One ADP Boulevard, Roseland, NJ 07068            $79.09   ADP Payroll - Chrissy Only
Check    9/15/2021      1029   ADP - Payroll and Taxes       ADP Tax ADP Tax ROJHD 091517A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.22   ADP Payroll - Chrissy Only
Check    9/15/2021      1027   ADP - Payroll and Taxes       ADP WAGE PAY WAGE PAY 692064270178JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.09   ADP Payroll - Chrissy Only
Check    9/15/2021      1028   ADP - Workmen's Comp          ADP PAY-BY-PAY PAY-BY-PAY 692064270179JHD                                            One ADP Boulevard, Roseland, NJ 07068            $11.07   ADP Payroll - Chrissy Only
Check    9/15/2021      5003   Robert Lutren Inc.            Service of Jeff Yatooma                                                                                                              $110.00   ClientExpense
Check    9/16/2021      1008                                 GROUPNET *LINCOLN NAT LIF 407268511 Payee:GROUPNET LINCOLN NAT LIF 4072685                                                        $16,445.00   retirement fund
Check    9/16/2021      1005                                 GROUPNET *LINCOLN NAT LIF 638089901 Payee:GROUPNET LINCOLN NAT LIF 6380899                                                        $46,500.00   retirement fund
Check    9/17/2021      5005   Lapeer County Circuit Court   Georgetown Development v. Clemens Group Inc. et al.                                                                                  $235.00   ClientExpense
Check    9/21/2021      5008   Lapeer County Circuit Court   Georgetown Development v. Clemens                                                                                                     $25.00   ClientExpense
Check    9/24/2021      1030   ADP - Payroll Fees            ADP PAYROLL FEES ADP - FEES 2RJHD 0136600                                            One ADP Boulevard, Roseland, NJ 07068            $79.09   ADP Payroll - Chrissy Only
Check    9/30/2021      1007   ADP - Payroll and Taxes       ADP Tax ADP Tax ROJHD 093018A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.21   ADP Payroll - Chrissy Only
Check    9/30/2021      1006   ADP - Payroll and Taxes       ADP WAGE PAY WAGE PAY 702063177148JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.10   ADP Payroll - Chrissy Only
Check    9/30/2021                                           ADP PAYBYPAY PAYBYPAY 702063177149JHD                                                One ADP Boulevard, Roseland, NJ 07068            $11.07   ADP Payroll - Chrissy Only
Check    9/30/2021                                           SERVICE CHARGE                                                                                                                        $32.99   Bank charge
Check    10/8/2021      1033 ADP - Payroll Fees              ADP PAYROLL FEES ADP - FEES 2RJHD 4768414                                            One ADP Boulevard, Roseland, NJ 07068            $79.09   ADP Payroll - Chrissy Only
Check   10/15/2021      1031 ADP - Payroll and Taxes         ADP Tax ADP Tax ROJHD 101519A01                                                      One ADP Boulevard, Roseland, NJ 07068         $1,051.22   ADP Payroll - Chrissy Only
Check   10/15/2021      1032 ADP - Payroll and Taxes         ADP WAGE PAY WAGE PAY 926421063477JHD                                                One ADP Boulevard, Roseland, NJ 07068         $2,225.09   ADP Payroll - Chrissy Only
Check   10/15/2021                                           ADP PAYBYPAY PAYBYPAY 926421063478JHD                                                One ADP Boulevard, Roseland, NJ 07068            $11.15   Payroll
Check   10/22/2021                                           ADP PAYROLL FEES ADP FEES 2RJHD 2062363                                              One ADP Boulevard, Roseland, NJ 07068            $79.09   ADP Payroll - Chrissy Only
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